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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS                                   2it1OCT2I AMtO:29
                            AUSTIN DIVISION                                                          C
                                                                                      ST44
United States of America                         §
                                                 §     CRIMINAL NO:
vs.                                              §     AU:20-CR-00156(l)-RP
                                                 §
(1) Cyril Lartigue                               §


                          ORDER SETTING SENTENCING
        IT IS HEREBY ORDERED that the above entitled and numbered case is set for

SENTENCING in Courtroom 4, on the Fifth Floor, United States Courthouse, 501 West Fifth

Street, Austin, TX, on Friday, February 04, 2022 at 10:00 AM.

      IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order to

counsel for defendant, the United States Attorney, United States Pretrial Services and the United

States Probation Office. Counsel for the defendant shall notify the defendant of this setting and,

if the defendant is on bond, advise the defendant to be present at this proceeding.

      IT IS FINALLY ORDERED that in the event the services of a court interpreter are

required, counsel for the defendant shall notify the U.S. District Clerk's Office within five days

of the date of the hearing.

        IT IS SO ORDERED this 21st day of October, 2021.
